Case 18-09108-RLM-11     Doc 97   Filed 12/19/18   EOD 12/19/18 17:09:34    Pg 1 of 4



                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

IN RE:

USA GYMNASTICS,                                CASE NO. 18-09108-RLM-11

         Debtor.

      NOTICE OF APPOINTMENT OF ADDITIONAL TORT CLAIMANTS
             COMMITTEE OF SEXUAL ABUSE SURVIVORS

      Nancy J. Gargula, United States Trustee, pursuant to 11 U.S.C. §

1102(a) hereby appoints the following members to the Additional Tort

Claimants Committee of Sexual Abuse Survivors1 in the above captioned cause:

   1. Marcia Frederick Blanchette
      c/o Kimberly Dougherty, Esq.
      Andrus Wagstaff, P.C.
      19 Belmont St.
      Easton, MA 02375
      marciafrederick123@gmail.com

   2. Alyssa Corn
      c/o Megan A. Bonanni and Michael L. Pitt
      Pitt McGhee Palmer & Rivers, P.C.
      117 W. Fourth St., Suite 200
      Royal Oak, MI 48067
      ahcorn@umich.edu

   3. Rachel Denhollander
      c/o Stephen R. Drew/Adam C. Sturdivant
      Drew, Cooper & Anding
      80 Ottawa Ave., NW Ste. 200
      Grand Rapids, MI 49503
      rjd.requests@gmail.com




                                                            
1 Due to a lack of response, no unsecured creditors committee has been appointed at

this time.
Case 18-09108-RLM-11   Doc 97   Filed 12/19/18   EOD 12/19/18 17:09:34   Pg 2 of 4



    4. Kenzie Gassaway
       c/o Manvir S. Grewal
       2290 Science Parkway
       Okemos, MI 48864
       kenziemsu@gmail.com

    5. Sarah Klein
       c/o Manvir S. Grewal
       2290 Science Parkway
       Okemos, MI 48864
       kleinsarahg@gmail.com

    6. Alexandra Raisman
       c/o John Manley
       Manly, Stewart & Finaldi
       19100 Von Karman Ave., Suite 800
       Irvine, CA 92613
       Lavenderlove8888@gmail.com

    7. Kyla Ross
       c/o John Manley
       Manly, Stewart & Finaldi
       19100 Von Karman Ave., Suite 800
       Irvine, CA 92613
       Rosskb96@gmail.com

    8. Tasha Schwikert-Warren
       c/o Kevin Boyle & Jesse Creed
       Panish, Shea & Boyle LLP
       11111 Santa Monica Blvd., Ste. 700
       Los Angeles, CA 90025
       tashaschwikertusagspecialcomm@gmail.com

    9. Jessica Thomashow
       c/o Stephen R. Drew/Adam C. Sturdivant
       Drew, Cooper & Anding
       80 Ottawa Ave., NW Ste. 200
       Grand Rapids, MI 49503
       jessicagthomashow@gmail.com




                                       2
 
Case 18-09108-RLM-11     Doc 97   Filed 12/19/18   EOD 12/19/18 17:09:34   Pg 3 of 4




                                        Respectfully Submitted,

                                        Nancy J. Gargula
                                        UNITED STATES TRUSTEE

                                   By: /s/ Laura A. DuVall
                                       Laura A. DuVall
                                       U.S. Department of Justice
                                       Office of the United States Trustee
                                       101 W. Ohio Street, Suite 1000
                                       Indianapolis, IN 46204
                                       Tel. (317) 226-6101
                                       Fax (317) 226-6356
                                       Laura.DuVall@usdoj.gov


                          CERTIFICATE OF SERVICE

        I hereby certify that on December 19, 2018, a copy of the foregoing was
filed electronically. Notice of this filing will be sent to the following parties
through the Court’s Electronic Case Filing System. Parties may access this
filing through the Court’s system.

Deborah Caruso      dcaruso@rubin-levin.net, dwright@rubin-levin.net,
jkrichbaum@rubin-levin.net, atty_dcaruso@bluestylus.com
Adam L. Kochenderfer      akochenderfer@wolfsonbolton.com
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Meredith R. Theisen     mtheisen@rubin-levin.net,
atty_mtheisen@bluestylus.com, mralph@rubin-levin.net


       I further certify that on December 19, 2018, a copy of the foregoing was
mailed by first-class U.S. Mail, postage prepaid, and properly addressed to the
following:


                                         3
 
Case 18-09108-RLM-11   Doc 97   Filed 12/19/18   EOD 12/19/18 17:09:34   Pg 4 of 4



None

                                      /s/ Laura A. DuVall
                                      Laura A. DuVall




                                       4
 
